Case 2:09-cr-20215-SFC-MKM ECF No. 250, PageID.1205 Filed 02/24/10 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,                           Case No. 09-20215

               Plaintiff,                           HONORABLE SEAN F. COX
                                                    United States District Judge
v.

D-2 JOSE CASTRO-RAMIREZ,

            Defendant.
___________________________________/

                    OPINION & ORDER DENYING THE DEFENDANT’S
                     MOTION TO SEQUESTER WITNESS [Doc. No. 244]

       Dr. Jose Castro-Ramirez is charged with one count of conspiracy to commit health care

fraud, eleven counts of health care fraud, and one count of conspiracy to commit money

laundering. [See Doc. No. 4]. Jury trial in this matter began on February 16, 2010. The case is

before the Court on the Defendant’s “Motion to Sequester Witness” [Doc. No. 245], in which the

Defendant requests that the Court continue to sequester Special Agent Darren Bartnik

(“Bartnik”), of the U.S. Department of Health & Human Services. The Court heard oral

argument on the motion on February 23, 2010. For the reasons that follow, the Court DENIES

the Defendant’s motion [Doc. No. 244].

                                        BACKGROUND

       On June 24, 2009, the grand jury returned an indictment charging Dr. Castro-Ramirez

with one count of conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349,

eleven counts of health care fraud, in violation of 18 U.S.C. § 1347, and one count of conspiracy

to commit money laundering, in violation of 18 U.S.C. § 1956(h). [See June 24, 2009 Indictment,


                                                1
Case 2:09-cr-20215-SFC-MKM ECF No. 250, PageID.1206 Filed 02/24/10 Page 2 of 5




Doc. No. 4].

       The Government has designated Federal Bureau of Investigation Agent Jeffrey Jamrosz

as the officer in charge of this case. During the investigation of this matter, Agent Jamrosz

worked closely with Special Agent Bartnik, though both agents were responsible for different

aspects of the investigation. Special Agent Bartnik was originally identified as a potential

witness on both the Government’s and the Defendant’s witness lists. The Court expressed

willingness to entertain lifting the sequestration order with respect to Special Agent Bartnik on

February 18, 2010 upon the Government stating that it no longer intended to call Special Agent

Bartnik as a witness.

       The Government also stated that it needed Special Agent Bartnik to help manage and

coordinate the presentation of the Government’s case, as this case was the product of a joint

investigation between the FBI and Health & Human Services. Specifically, Special Agent

Bartnik was responsible for securing the search warrant executed on Dr. Castro-Ramirez’s

office, which resulted in sixty-eight bank boxes of documents being seized. Special Agent

Bartnik is familiar with the contents of these boxes, which Dr. Castro-Ramirez has expressed a

desire to use in his defense.

       The Court instructed Dr. Castro-Ramirez that he was free to file a motion stating specific

and concrete reasons why Special Agent Bartnik should remain sequestered. In response, Dr.

Castro-Ramirez filed the instant motion.

       In his motion, Dr. Castro-Ramirez argues that Special Agent Bartnik’s presence in Court

is not “essential” to the Government’s case:

       In this case, Mr. Bartnik is not “essential.” While the trial is scheduled for several
       weeks, there is only one defendant; not an overwhelming amount of evidence or

                                                 2
Case 2:09-cr-20215-SFC-MKM ECF No. 250, PageID.1207 Filed 02/24/10 Page 3 of 5




       exhibits requiring that F.B.I. case agent Jamroz needs additional assistance in the
       courtroom. Furthermore, all of the evidence or exhibits are readily accessible to
       counsel for the Government.

[Def.’s Br., Doc. No. 244, p.6].

                                           ANALYSIS

       Dr. Castro-Ramirez argues that Special Agent Bartnik should remain sequestered during

this action, as his presence in court is not “essential” to the presentation of the Government’s

case. The Court disagrees, and therefore DENIES Dr. Castro-Ramirez’ motion [Doc. No. 244].

       Sequestration of witnesses is generally governed by FED. R. EVID. 615, which provides as

follows:

       At the request of a party the court shall order witnesses excluded so that they
       cannot hear the testimony of other witnesses, and it may make the order of its
       own motion. This rule does not authorize exclusion of (1) a party who is a natural
       person, or (2) an officer or employee of a party which is not a natural person
       designated as its representative by its attorney, or (3) a person whose presence is
       shown by the party to be essential to the presentation of the party’s case, or (4) a
       person authorized by statute to be present.

FED. R. EVID. 615 (emphasis added). In opposition to Dr. Castro-Ramirez’ motion, the

Government argues that Special Agent Bartnik’s presence in court is “essential” to the

Government’s case for purposes of Rule 615. The Court agrees.

       In United States v. Phibbs, 999 F.2d 1053 (6th Cir. 1993), the Sixth Circuit outlined the

process for evaluating whether a second agent-witness for the Government was “essential” to the

Government’s case:

       Rule 615(2) affords the government the right to designate only one representative
       for that purpose [i.e., assistance in the courtroom]. However, certain prosecutions
       may be complex enough that the aid of more than one law enforcement officer is
       needed to sort through extensive, technical evidence, and to help map out
       strategy. When the government wants to have two agent-witnesses in attendance
       throughout a trial, it is always free to designate one agent as its representative

                                                 3
Case 2:09-cr-20215-SFC-MKM ECF No. 250, PageID.1208 Filed 02/24/10 Page 4 of 5




       under subpart (2) to Rule 615 and to try to show under subpart (3) that the
       presence of the second agent is essential to the presentation of its case.

Phibbs, 999 F.2d at 1072 (internal quotations and citations omitted).

       The “essential” witness exception in FED. R. EVID. 615(3) “contemplates such persons as

an agent who handled the transaction being litigated or an expert needed to advise counsel in the

management of litigation.” Id. at 1073 (internal citation omitted). In Phibbs, the Sixth Circuit

affirmed the district court’s decision to allow a second agent - Finken - to join the Government’s

Rule 615(2) designee - Merryman - at counsel table during the trial:

       We are persuaded that Finken fell within this category [Rule 615(3)] due to the
       particular circumstances of the case at bar. This was a trial that was scheduled for
       approximately one month, involving several defendants and a great deal of
       evidence, not all of which was readily accessible. After Merryman was
       designated the government’s representative in accordance with Rule 615(2), the
       court determined that Finken, who was intimately familiar with portions of the
       evidence, was also needed to advise the government in its handling of the
       prosecution. As Merryman and Finken were, for the most part, responsible for
       distinct aspects of a far-flung investigation, this was not an abuse of discretion.

Id. (emphasis added).

       The Court finds the facts of the instant case analogous to Phibbs. Here, Dr. Castro-

Ramirez is accused of being a co-conspirator in a complex Medicare fraud scheme - similar to

the circumstances in Phibbs, which involved a complex narcotics distribution conspiracy.

As in Phibbs, here there is an enormous amount of documentary evidence that is not readily

accessible.

       This case was also a joint investigation between the FBI and Health and Human Services,

with Agent Jamrosz and Special Agent Bartnik being responsible for different aspects of the

investigation. As in Phibbs, here Special Agent Bartnik is “intimately familiar with portions of

the evidence,” requiring Special Agent Bartnik’s presence in Court “to advise the government in

                                                4
Case 2:09-cr-20215-SFC-MKM ECF No. 250, PageID.1209 Filed 02/24/10 Page 5 of 5




its handling of the prosecution.” Phibbs, 999 F.2d at 1073. On these facts, just as in Phibbs, the

Court finds that Special Agent Bartnik is “essential” to the government’s case under Rule

615(3), and therefore will not subject Special Agent Bartnik to continued sequestration.

                                        CONCLUSION

       The Court HOLDS that Special Agent Bartnik has been shown by the Government to be

a person whose presence is essential to the presentation of the Government’s case under FED. R.

EVID. 615(3). For this reason, the Court DENIES the Defendant’s motion for sequestration

[Doc. No. 244].

       IT IS SO ORDERED.


                              S/Sean F. Cox
                              Sean F. Cox
                              United States District Judge

Dated: February 24, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record
on February 24, 2010, by electronic and/or ordinary mail.

                              S/Jennifer Hernandez
                              Case Manager




                                            5
